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      MIDLAND CREDIT MANAGEMENT, INC.
  6
  7
  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
 10
 11 SARA GLADNEY,                    ) Case No: 2-12-cv-07952-GAF-CW
                                     )
 12                                  )
                   Plaintiff,        ) NOTICE OF SETTLEMENT
 13                                  )
             vs.                     )
 14                                  )
                                     )
 15   MIDLAND CREDIT                 )
 16
      MANAGEMENT, INC., and DOES 1- ))
      10, inclusive,                 )
 17                                  )
                   Defendants.       )
 18                                  )
                                     )
 19                                  )
 20
 21 TO THE HONORABLE COURT, TO ALL PARTIES HEREIN AND TO
 22 THEIR RESPECTIVE COUNSEL OF RECORD:
 23          PLEASE TAKE NOTICE that this entire action has been settled.

 24 The parties anticipate that they will complete the settlement, and file a
 25 stipulation of dismissal, within 45 days from the date of this notice.
 26 / / /
 27 / / /
 28 / / /
      {00011217.DOC;1}                                            NOTICE OF SETTLEMENT
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 1          In light of the settlement, the parties request that the Court take off
 2   calendar all future hearing dates in this case.
 3
 4   Dated: November 14, 2013                TRUEBLOOD LAWFIRM
 5
 6                                           By: /s/ Alexander B. Trueblood
 7                                               Alexander B. Trueblood
                                                 Attorneys for Plaintiff
 8                                               WSARA GLADNEY
 9
10
11   Dated: November 14, 2013                CARLSON & MESSER LLP
12
13                                           By: /s/ David J. Kaminski
14                                               David J. Kaminski
                                                 Stephen A. Watkins
15                                               Attorneys for Defendant
16                                               MIDLAND CREDIT
                                                 MANAGEMENT, INC.
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